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                      EXHIBIT 27
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   Reg. No. 4,365,955        MICROSOFT CORPORATION (WASHINGTON CORPORATION)
                             ONE MICROSOFT WAY
   Registered July 9, 2013   REDMOND, WA 980526399

   Int. Cls.: 9 and 42       FOR COMPUTER DATABASE MANAGEMENT SOFTWARE, IN CLASS 9 (U.S. CLS. 21 ,
                             23, 26, 36 AND 38).

   TRADEMARK                 FIRST USE 12-1-20 12; IN COMMERCE 12- 1-2012.

   SERVICE MARK              FOR: CLOUD COMPUTING FEATURJNG SOFTWARE FOR USE IN DATABASE MANAGE-
                             MENT AND ACCESSING REMOTELY STORED DATA FOR SUCH APPLICATIONS;
   PRINCIPAL REGISTER        PROVIDING TEMPORA RY USE OF ON-LINE NON-DOWNLOADABLE SOFTWARE AND
                             APPLICATIONS FOR DATABASE MANAGEMENT; PROVIDING TECHNlCAL CNFORMA-
                             TION IN THE FIELD OF COMPUTER SOFTWARE AND CLOUD COMPUTING, IN CLASS
                             42 (US. CLS. IOOAND 101).

                             FIRST USE 12- 1-2012; IN COMMERCE 12- 1-2012.

                             PRIORITY CLAIMED UNDER SEC. 44(D) ON SOUTH AFRICA APPLICATION NO.
                             20 12/0 14835, FILED 6-5-2012.

                             PRIORITY CLAIMED UNDER SEC. 44(0) ON SOUTH AFRICA APPLICATION NO.
                             20 12114834, FILED 6-5-2012.

                             OWNER OF U.S. REG NOS. 3,379,619 AND 3,905,556.

                             THE MARK CONSISTS OF A THREE-DIMENSIONAL DEPICTION OF A REC"Ji\NGLE WITH
                             THE LETTER "A" IN THE CENTER PARTIALLY COVERING AN ADJACENT THREE-DI-
                             MENSIONAL IMAGE OF THREE STJ\CKED CYLINDRICAL SOLIDS.

                             SN 85-680,856, FILED 7-18-2012

                             ZACHARY BELLO, EXAMINING ATTORNEY
Case 2:18-cv-00121-SPC-MRM Document 1-4 Filed 02/22/18 Page 3 of 31 PageID 112




                                  REQ UIRE MENTS TO MA INTAIN YOUR FEDE RAL
                                          TRADEMARK REGI STRATION

            WARNING: YOUR REGISTRATION WILL BE CANCELLED I F YOU DO NOT FILE THE
                   DOCUMENTS BE LOW DURING THE SPECIFIED TIME PE RIODS.

        Requirements in t he First Ten Years*
        What and When to F i.le:

                    First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the
                   5th and 6th years after the registration date. See 15 U.S.C. §§ 1058, 114 lk. If the declaration is
                   accepted, the registration will continue in force for tJ1e remainder of the ten-year period, calculated
                   from the registration date, unJess cancelled by an order of the Commissioner for Trademarks or a
                   federal court.

                   Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an
                  Application for Renewal between the 9th and 10th years after the registration date.*
                  See 15 U.S.C. §1059.

        Requirements in Successive Ten-Year Pe riods*
        What a nd When to File:

                   You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal between
                   every 9th and 10th-year period, calculated from the registration date.*

        Grace Period Filings*

        The above documents will be accepted as timely if filed within six months after the deadlines listed above
        with the payment of an additional fee.


          The United States Patent and Trad em ark Office (USPTO) will NOT send you :my future notice or
                                       reminder of these filing requirements.

        *ATTENTION MADRID PROTOCOL R EGISTRANTS: The holder of an intemational registration witJ1
        an extension of protection to the United States under tJ1e Madrid Protocol must timely file the Declarations
        of Use (or Excusable Nonuse) referenced above directJy with the USPTO. The time periods for filing are
        based on the U.S. registration date (not the intemational registration date). The deadlines and grace periods
        for tJ1e Declarations of Use (or Excusable Nonuse) are identical to those for nationally issued registrations.
        See 15 U.S.C. §§ 1058, 1141k. However, owners of international registrations do not file renewal applications
        at the USPTO. Instead, fuc holder must file a renewal of the underlying intcmational registration at tJ1e
        IntemationaJ Bureau of the World IntellectuaJ Property Organization, under Article 7 of the Madrid Protocol,
        before the expiration of each ten-year tenn of protection, calculated from the date of tJ1e international
        registration. See 15 U .S.C. §114 lj. For more infonnation and renewal forms for the international registration,
        see http://www.wipo.int/madrid/en/.

        NOTE: Fees and requirements for maintaining regist r ations are subject to change. Please check the
        USPT O website for further information. With the exce1>tion of renewal ap1>lications for registered
        extensions of protection, you can file the registration maintenance documents referenced above online
        at http://www.uspto.gov.




                                                   Page: 2 /RN# 4,365,955
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                      EXHIBIT 28
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      Int. Cl.: 9
      Prior U.S. Cls.: 21, 23, 26, 36 and 38
                                                                              Reg. No. 2,942,050
      United States Patent and Trademark Office                                 Registered Apr. 19, 2005


                                           TRADEMARK
                                       PRINCIPAL REGISTER




                                       EXCEL

      MICROSOFT CORPORATION (WASHING TON               FIRST USE 9-30-1985; IN COMMERCE 9-30-1985.
        CORPORATION)
      ONE MICROSOFT WAY                                 THE MARK CONSISTS OF STANDARD CHAR-
      REDMOND, WA 980526399                           ACTERS WITHOUT CLAIM TO ANY PARTICULAR
                                                      FONT, STYLE, SIZE, OR COLOR.
        FOR: COMPUTER SOFTWARE, NAMELY,
      SPREADSHEET SOFTWARE; AND COMPUTER
      PROGRAMS FOR CREATING CHARTS AND                 SER. NO. 78-400,429, FILED 4-12-2004.
      GRAPHS FROM ELECTRONIC SPREADSHEETS,
      IN CLASS 9 (U.S. CLS. 21, 23, 26, 36 AND 38).   WON TEAK OH, EXAMINING ATTORNEY
Case 2:18-cv-00121-SPC-MRM Document 1-4 Filed 02/22/18 Page 6 of 31 PageID 115




                      EXHIBIT 29
Case 2:18-cv-00121-SPC-MRM Document 1-4 Filed 02/22/18 Page 7 of 31 PageID 116




                                                                ---
                                                                  -
   Reg. No. 4,355,451         MICROSOFT CORPORATION (WASHINGTON CORPORATION)
                              ONE MICROSOFT WAY
   Registered June 18, 2013   REDMOND, WA 980526399

   Int. Cls.: 9 and 42        FOR COMPUTER SOFTWARE, NAMELY, SPREADSHEET SOFTWARE; COMPUTER
                              PROGRAMS FOR CREATlNG CHARTS AND GRAPHS FROM ELECTRONlC SPREADSHEETS
                              , fN CLASS 9 (U.S. CLS. 2 1, 23, 26, 36 AND 38).
   TRADEMARK
                              FIRST USE 12-1-2012; IN COMMERCE 12- 1-2012.
   SERVICE MARK
                              FOR: CLOUD COMPUTING FEATURING SOFTWARE FOR USE IN ELECTRONIC
   PRINCIPAL REGISTER         SPREADSHEETS AND ACCESSING REMOTELY STORED DATA FOR SUCH APPLICA-
                              TIONS; PROVIDlNG TEMPORARY USE OF ON-LINE NON-DOWNLOADABLE SOFTWARE
                              AND APPLICATIONS FOR ELECTRONlC SPREADSHEETS; PROVIDING TECHNICAL IN-
                              FORMATION IN THE FIELD OF COMPUTER SOFTWARE AND CLOUD COMPUTING, IN
                              CLASS 42 (U.S. CLS. IOOAND 101).

                              FIRST USE 12- 1-2012; IN COMMERCE 12- 1-2012.

                              PRJORITY CLAIMED UNDER SEC. 44(0) ON SOUTH AFRJCA APPLICATION NO.
                              20 12/14833, FILED 6-5-2012.

                              PRIORITY CLAIMED UNDER SEC. 44(D) ON SOUTH AFRICA APPLICATION NO.
                              20 12/14832, FILED 6-5-2012.

                              OWNER OF U.S. REG. NOS. 3,486,459 AND 3,905,558.

                              THE MARK CONSISTS OF A THREE-DIMENSIONAL DEPICTION OF A RECTANGLE WITH
                              THE LETTER "X" IN THE CENTER PARTIALLY COVERING AN ADJACENT REC'IANGU-
                              LAR IMAGE INCLUDING A GRID OF RECU\NGLES.

                              SN 85-680,878, FILED 7- 18-2012

    ~~ 4.J                    MICHA EL WEBSTER, EXAMINING ATTORNEY
Case 2:18-cv-00121-SPC-MRM Document 1-4 Filed 02/22/18 Page 8 of 31 PageID 117




                                  REQ UIRE MENTS TO MA INTAIN YOUR FEDE RAL
                                          TRADEMARK REGI STRATION

            WARNING: YOUR REGISTRATION WILL BE CANCELLED I F YOU DO NOT FILE THE
                   DOCUMENTS BE LOW DURING THE SPECIFIED TIME PE RIODS.

        Requirements in t he First Ten Years*
        What and When to F i.le:

                    First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the
                   5th and 6th years after the registration date. See 15 U.S.C. §§ 1058, 114 lk. If the declaration is
                   accepted, the registration will continue in force for tJ1e remainder of the ten-year period, calculated
                   from the registration date, unJess cancelled by an order of the Commissioner for Trademarks or a
                   federal court.

                   Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an
                  Application for Renewal between the 9th and 10th years after the registration date.*
                  See 15 U.S.C. §1059.

        Requirements in Successive Ten-Year Pe riods*
        What a nd When to File:

                   You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal between
                   every 9th and 10th-year period, calculated from the registration date.*

        Grace Period Filings*

        The above documents will be accepted as timely if filed within six months after the deadlines listed above
        with the payment of an additional fee.


          The United States Patent and Trad em ark Office (USPTO) will NOT send you :my future notice or
                                       reminder of these filing requirements.

        *ATTENTION MADRID PROTOCOL R EGISTRANTS: The holder of an intemational registration witJ1
        an extension of protection to the United States under tJ1e Madrid Protocol must timely file the Declarations
        of Use (or Excusable Nonuse) referenced above directJy with the USPTO. The time periods for filing are
        based on the U.S. registration date (not the intemational registration date). The deadlines and grace periods
        for tJ1e Declarations of Use (or Excusable Nonuse) are identical to those for nationally issued registrations.
        See 15 U.S.C. §§ 1058, 1141k. However, owners of international registrations do not file renewal applications
        at the USPTO. Instead, fuc holder must file a renewal of the underlying intcmational registration at tJ1e
        IntemationaJ Bureau of the World IntellectuaJ Property Organization, under Article 7 of the Madrid Protocol,
        before the expiration of each ten-year tenn of protection, calculated from the date of tJ1e international
        registration. See 15 U .S.C. §114 lj. For more infonnation and renewal forms for the international registration,
        see http://www.wipo.int/madrid/en/.

        NOTE: Fees and requirements for maintaining regist r ations are subject to change. Please check the
        USPT O website for further information. With the exce1>tion of renewal ap1>lications for registered
        extensions of protection, you can file the registration maintenance documents referenced above online
        at http://www.uspto.gov.




                                                   Page: 2 /RN# 4,355,451
Case 2:18-cv-00121-SPC-MRM Document 1-4 Filed 02/22/18 Page 9 of 31 PageID 118




                      EXHIBIT 30
Case 2:18-cv-00121-SPC-MRM Document 1-4 Filed 02/22/18 Page 10 of 31 PageID 119




            Int. Cl.: 9
            Prior U.S. Cls.: 21, 23, 26, 36, and 38
                                                                            Reg. No. 2,188,125
            United States Patent and Trademark Office                          Registered Sep. 8, 1998


                                          TRADEMARK
                                       PRINCIPAL REGISTER



                                            OUTLOOK




            MICROSOFT CORPORATION (WASHINGTON         AGING GROUP CALENDARS, TASK DELE-
             CORPORATION)                             GATION AND REPORTING, RECORDING
            ONE MICROSOFT WAY                         NOTES, TRANSFERRING DATA TO AND
            REDMOND, WA 980526399 MICROSOFT COR-      FROM DATA BASES AND TO AND FROM
             PORATION (WASHINGTON CORPORATION)        COMPUTER PROGRAMS AND COMPUTER
                                                      FILES; ADDRESS BOOK PROGRAMS, TELE-
                                                      PHONE DIALING PROGRAMS, PROGRAMS
                                                      FOR CORRECTING TYPOGRAPHICAL AND
                                                      CAPITALIZATION ERRORS, PROGRAMS FOR
             FOR: COMPUTER PROGRAMS FOR PRO-          TALLYING VOTING RESPONSES; AND IN-
           VIDING ENHANCED ELECTRONIC MAIL            STRUCTION MANUALS THEREFOR SOLD AS
           AND SCHEDULING CAPABILITIES, FOR USE       A UNIT, IN CLASS 9 (U.S. CLS. 21, 23, 26, 36
           BY   INDIVIDUAL  COMPUTER      USERS,      AND 38).
           NAMELY, COMPUTER PROGRAMS FOR MAN-           FIRST USE 1-1-1997; IN COMMERCE
           AGING, VIEWING, AND EDITING FILES,         1-1-1997.
           DOCUMENTS, ELECTRONIC MAIL MES-
           SAGES AND PRIVATE NETWORK AND                SN 75-053,439, FILED 2-5-1996.
           GLOBAL COMPUTER NETWORK COMMUNI-
           CATIONS; COMPUTER PROGRAMS FOR             FRANCES G. SMITH, EXAMINING A TTOR-
           MEETING AND EVENT SCHEDULING, MAN-           NEY
Case 2:18-cv-00121-SPC-MRM Document 1-4 Filed 02/22/18 Page 11 of 31 PageID 120




                       EXHIBIT 31
Case 2:18-cv-00121-SPC-MRM Document 1-4 Filed 02/22/18 Page 12 of 31 PageID 121




    Reg. No. 4,355,446                                                       MICROSOFT CORPORATION (WASHINGTON CORPORATION)
                                                                             ONE MICROSOFT WAY
    Registered June 18, 2013                                                 REDMOND, WA 980526399

    Int. Cls.: 9 and 42                                                      FOR COMPUTER PROGRAMS FOR PROVIDING ENHANCED ELECTRONlC MAIL AND
                                                                             SCHEDULING CAPABUXf!ES, FOR USE BY INDIVIDUAL COMPUTER USERS, NAMELY,
                                                                             COMPUTER PROO RAMS FOR MANAGING, VIEWING,AND EDITING FILES, DOCUMENTS,
    TRADEMARK                                                                ELECTRONIC MAIL MESSAGES AND PRIVATE NETWORK AND GLOBAL COMPUTER
                                                                             NETWORK COMMUNlCATIONS; COMPUTER PROGRAMS FOR MEETING AND EVENT
    SERVICE MARK                                                             SCJ.IEDULING, MANAGING GROUP CALENDARS, D\SK DELEGATION AND REPORTING,
                                                                             RECORDING NOTES, TRANSFERRING DATA TO AND FROM DATABASES AND TO AND
    PRINCIPAL REGISTER                                                       FROM COMPUTER PROGRAMS AND COMPUTER FILES; ADDRESS BOOK COMPUTER
                                                                             PROGRAMS, TELEPHONE DIALlNG COMPUTER PROGRAMS, COMPUTER PROGRAMS
                                                                             FOR CORRECTING TYPOGRAPHICALAND CAP!TALIZAf!ON ERRORS AND COMPUTER
                                                                             PROGRAMS FOR TALLYING VOTING RESPONSES, IN CLASS 9 (U.S. CLS. 21, 23, 26, 36
                                                                             AND38).

                                                                             FIRST USE 12-1-2012; IN COMMERCE 12-1-2012.

                                                                             FOR: CLOUD COMPUTING FEATURING SOFTWARE FOR USE IN EMAIL, CALENDARING,
                                                                             CONTACTS MANAGEMENT AND ACCESSING REMOTELY STORED DATA FOR SUCH
                                                                             APPLICATIONS; PROVIDING TEMPORARY USE OF ON-LINE NON-DOWNLOADABLE
                                                                             SOFTWARE AND APPLICATIONS FOR EMAIL, CALENDARING, AND COND\CTS MAN-
                                                                             AGEMENT; PROVIDING TECHNICAL INFORMATION IN THE FIELD OF COMPUTER
                                                                             SOFTWARE AND CLOUD COMPUTING, IN CLASS 42 (U.S. CLS. lOOAND 101).

                                                                             FIRST USE 12- 1-20 12; IN COMMERCE 12- 1-2012.

                                                                             PRIORITY CLAIMED UNDER SEC. 44(D) ON SOUTH AFRICA APPLICATION NO.
                                                                             20 12/14824, FILED 6-5-2012.


     fa                     ~
                                                                             PRIORITY CLAIMED UNDER SEC. 44(D) ON SOUTH AFRICA APPLICATION NO.
                                                                             20 12/l4823,FILED6-5-2012.

            ~                                             ~
    AnJna 1>1rtt1or or Ult un11N1St11tts 1>111"111 1u.S 'l'rade11nt1t Omtt
                                                                             OWNER OF U.S. REG. NOS. 3,360,916AND 3,905,560.
Case 2:18-cv-00121-SPC-MRM Document 1-4 Filed 02/22/18 Page 13 of 31 PageID 122




        Reg. No. 4 355 446   TIIEMARKCONSISTSOFA TIIREE-DIMENSIONALDEPICTIONOFARECTANGLEWITII
                  '   '      THE LETTER "O" IN THE CENTER PARTIALLY COVERING AN ADJACENT IMAGE OF
                             THE BACK OF AN ENVELOPE

                             SN 85-680,865, FILED 7-18-2012.

                             MICHAEL WEBSTER, EXAMINING ATTORNEY




                                         Page: 2 /RN# 4,355,446
Case 2:18-cv-00121-SPC-MRM Document 1-4 Filed 02/22/18 Page 14 of 31 PageID 123




                                  REQ UIRE MENTS TO MA INTAIN YOUR FEDE RAL
                                          TRADEMARK REGI STRATION

            WARNING: YOUR REGISTRATION WILL BE CANCELLED I F YOU DO NOT FILE THE
                   DOCUMENTS BE LOW DURING THE SPECIFIED TIME PE RIODS.

        Requirements in t he First Ten Years*
        What and When to F i.le:

                    First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the
                   5th and 6th years after the registration date. See 15 U.S.C. §§ 1058, 114 lk. If the declaration is
                   accepted, the registration will continue in force for tJ1e remainder of the ten-year period, calculated
                   from the registration date, unJess cancelled by an order of the Commissioner for Trademarks or a
                   federal court.

                   Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an
                  Application for Renewal between the 9th and 10th years after the registration date.*
                  See 15 U.S.C. §1059.

        Requirements in Successive Ten-Year Pe riods*
        What a nd When to File:

                   You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal between
                   every 9th and 10th-year period, calculated from the registration date.*

        Grace Period Filings*

        The above documents will be accepted as timely if filed within six months after the deadlines listed above
        with the payment of an additional fee.


          The United States Patent and Trad em ark Office (USPTO) will NOT send you :my future notice or
                                       reminder of these filing requirements.

        *ATTENTION MADRID PROTOCOL R EGISTRANTS: The holder of an intemational registration witJ1
        an extension of protection to the United States under tJ1e Madrid Protocol must timely file the Declarations
        of Use (or Excusable Nonuse) referenced above directJy with the USPTO. The time periods for filing are
        based on the U.S. registration date (not the intemational registration date). The deadlines and grace periods
        for tJ1e Declarations of Use (or Excusable Nonuse) are identical to those for nationally issued registrations.
        See 15 U.S.C. §§ 1058, 1141k. However, owners of international registrations do not file renewal applications
        at the USPTO. Instead, fuc holder must file a renewal of the underlying intcmational registration at tJ1e
        IntemationaJ Bureau of the World IntellectuaJ Property Organization, under Article 7 of the Madrid Protocol,
        before the expiration of each ten-year tenn of protection, calculated from the date of tJ1e international
        registration. See 15 U .S.C. §114 lj. For more infonnation and renewal forms for the international registration,
        see http://www.wipo.int/madrid/en/.

        NOTE: Fees and requirements for maintaining regist r ations are subject to change. Please check the
        USPT O website for further information. With the exce1>tion of renewal ap1>lications for registered
        extensions of protection, you can file the registration maintenance documents referenced above online
        at http://www.uspto.gov.




                                                   Page: 3 I RN# 4,355,446
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                       EXHIBIT 32
Case 2:18-cv-00121-SPC-MRM Document 1-4 Filed 02/22/18 Page 16 of 31 PageID 125




    Reg. No. 4,355,448         MICROSOFT CORPORATION (WASHINGTON CORPORATION)
                               ONE MICROSOFT WAY
    Registered June 18, 2013   REDMOND, WA 980526399

    Int. Cl.: 9                FOR DESKTOP PUBLISl-llNG SOFTWARE, IN CLASS 9 (U.S. CLS 2 I, 23, 26, 36 AND 38).

                               FIRST USE   12- 1 -20 1 2~   fN COMMERCE 12- 1-2012.
    TRADEMARK
                               PRIORITY CLAIMED UNDER SEC. 44(D) ON SOUTH AFRICA APPLICATION NO.
    PRINCIPAL REGISTER         20 12114820, FILED 6-5-2012.

                               OWNER OF U.S. REG NO. 3,909, 142.

                               THE MARK CONSISTS OF A 1HREE-DlMENSIONALDEP!CTION OF A RECTANGLE WITH
                               THE LETTER "P" IN THE CENTER PARTIALLY COVERING AN ADJACENT IMAGE OF A
                               FOLDED PIECE OF PAPER INCLUDING A RECTANGLE AND THREE HORIZONAL LINES.

                               SN 85-680,870, FILED 7- 18-2012

                               MICHA EL WEBSTER, EXAMINING ATTORNEY
Case 2:18-cv-00121-SPC-MRM Document 1-4 Filed 02/22/18 Page 17 of 31 PageID 126




                                  REQ UIRE MENTS TO MA INTAIN YOUR FEDE RAL
                                          TRADEMARK REGI STRATION

            WARNING: YOUR REGISTRATION WILL BE CANCELLED I F YOU DO NOT FILE THE
                   DOCUMENTS BE LOW DURING THE SPECIFIED TIME PE RIODS.

        Requirements in t he First Ten Years*
        What and When to F i.le:

                    First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the
                   5th and 6th years after the registration date. See 15 U.S.C. §§ 1058, 114 lk. If the declaration is
                   accepted, the registration will continue in force for tJ1e remainder of the ten-year period, calculated
                   from the registration date, unJess cancelled by an order of the Commissioner for Trademarks or a
                   federal court.

                   Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an
                  Application for Renewal between the 9th and 10th years after the registration date.*
                  See 15 U.S.C. §1059.

        Requirements in Successive Ten-Year Pe riods*
        What a nd When to File:

                   You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal between
                   every 9th and 10th-year period, calculated from the registration date.*

        Grace Period Filings*

        The above documents will be accepted as timely if filed within six months after the deadlines listed above
        with the payment of an additional fee.


          The United States Patent and Trad em ark Office (USPTO) will NOT send you :my future notice or
                                       reminder of these filing requirements.

        *ATTENTION MADRID PROTOCOL R EGISTRANTS: The holder of an intemational registration witJ1
        an extension of protection to the United States under tJ1e Madrid Protocol must timely file the Declarations
        of Use (or Excusable Nonuse) referenced above directJy with the USPTO. The time periods for filing are
        based on the U.S. registration date (not the intemational registration date). The deadlines and grace periods
        for tJ1e Declarations of Use (or Excusable Nonuse) are identical to those for nationally issued registrations.
        See 15 U.S.C. §§ 1058, 1141k. However, owners of international registrations do not file renewal applications
        at the USPTO. Instead, fuc holder must file a renewal of the underlying intcmational registration at tJ1e
        IntemationaJ Bureau of the World IntellectuaJ Property Organization, under Article 7 of the Madrid Protocol,
        before the expiration of each ten-year tenn of protection, calculated from the date of tJ1e international
        registration. See 15 U .S.C. §114 lj. For more infonnation and renewal forms for the international registration,
        see http://www.wipo.int/madrid/en/.

        NOTE: Fees and requirements for maintaining regist r ations are subject to change. Please check the
        USPT O website for further information. With the exce1>tion of renewal ap1>lications for registered
        extensions of protection, you can file the registration maintenance documents referenced above online
        at http://www.uspto.gov.




                                                   Page: 2 /RN# 4,355,448
Case 2:18-cv-00121-SPC-MRM Document 1-4 Filed 02/22/18 Page 18 of 31 PageID 127




                       EXHIBIT 33
Case 2:18-cv-00121-SPC-MRM Document 1-4 Filed 02/22/18 Page 19 of 31 PageID 128




       Int. Cl.: 9
       Prior U.S. Cls.: 21, 23, 26, 36 and 38
                                                                        Reg. No. 2,844,710
       United States Patent and Trademark Office                         Registered May 25, 2004


                                       TRADEMARK
                                   PRINCIPAL REGISTER



                                        ONENOTE



       MICROSOFT CORPORATION (WASHING TON       USE IN ACCESSING AND TRANSMITTING INFOR-
         CORPORATION)                           MATION TO COMPUTER NETWORKS, NAMELY,
       ONE MICROSOFT WAY                        COMPUTER SOFTWARE FOR EMAILING NOTES
       REDMOND, WA 980526399                    AND PUBLISHING NOTES ON COMPUTER NET-
                                                WORKS; AND COMPUTER PERIPHERALS, NAME-
        FOR: COMPUTER SOFTWARE FOR USE IN       LY, ELECTRONIC PENS FOR INPUTTING
      NOTE-TAKING, NAMELY, COMPUTER SOFT-       HANDWRITTEN DATA INTO A COMPUTER, IN
      WARE FOR RECORDING, ORGANIZING, EDIT-     CLASS 9 (U.S. CLS. 21, 23, 26, 36 AND 38).
      ING AND TRANSMITTING AUDIO AND VISUAL
      INFORMATION AND IMAGES IN ELECTRONIC
      FORM; COMPUTER SOFTWARE FOR VIEWING        FIRST USE 3-6-2003; IN COMMERCE 3-6-2003.
      AND EDITING MEETING AGENDAS AND TO-DO
      LISTS; COMPUTER SOFTWARE FOR REMINDING     SER. NO. 78-182,506, FILED 11-6-2002.
      USERS OF DATES AND EVENTS; COMPUTER
      SOFTWARE FOR ACCESSING SHARED DOCU-
      MENTS (NOTES); COMPUTER SOFTWARE FOR      SHARON MEIER, EXAMINING ATTORNEY
Case 2:18-cv-00121-SPC-MRM Document 1-4 Filed 02/22/18 Page 20 of 31 PageID 129




                       EXHIBIT 34
Case 2:18-cv-00121-SPC-MRM Document 1-4 Filed 02/22/18 Page 21 of 31 PageID 130




    Reg. No. 4,351,584                        MICROSOFT CORPORATION (WASHINGTON CORPORATION)
                                              ONE MICROSOFT WAY
    Registered June 11, 2013                  REDMOND, WA 980526399

    Int. Cls.: 9 and 42                      FOR COMPUTER SOFTWARE FOR USE IN NOTE-TAKING, NAMELY, COMPUTER
                                             SOFTWARE FOR RECORDING, ORGANlZING , EDITING AND TRANSMJTTING AUDIO
                                             AND VISUAL INFORMATION AND IMAGES IN ELECTRONIC FORM; COMPUTER
    TRADEMARK                                SOFTWARE FOR VIEWING AND EDITING MEETING AGENDAS AND TO-DO LISTS;
                                             COMPUTER SOFTWARE FOR REMINDING USERS OF DATES AND EVENTS; COMPUTER
    SERVICE MARK                             SOFTWARE FOR ACCESSING SHARED DOCUMENTS OR SHARED ELECTRONIC NOTES;
                                             COMPUTER SOFTWARE FOR USE IN ACCESSING AND TRANSMITTING INFORMATION
    PRINCIPAL REGISTER                       TO COMPUTER NETWORKS, NAMELY, COMPUTER SOFTWARE FOR EMA !LING NOTES
                                             AND PUBLISH1NG NOTES ON COMPUTER NETWORKS, IN CLASS 9 (U.S. CLS. 21, 23, 26,
                                             36AND38).

                                              FIRST USE I2-l-2012; IN COMMERCE 12- 1-2012.

                                              FOR CLOUD COMPUTING FEATURING SOFTWARE FOR USE TN NOTE lAKTNG AND
                                              ACCESSING REMOTELY STORED DATA FOR SUCH APPLICATIONS; PROVIDING TEM-
                                              PORARY USE OF ON-LINE NON-DOWNLOADABLE SOFTWARE AND APPLICATIONS
                                              FOR NOTE TAKING; PROVIDING TECHNICAL INFORMATION IN THE FIELD OF COM-
                                              PUTER SOFTWARE AND CLOUD COMPUTING, IN CLASS 42 (U.S. CLS. 100 AND IO I).

                                              FIRST USE 12-1-2012; IN COMMERCE 12-1-2012.

                                              PRIORITY CLAIMED UNDER SEC. 44(D) ON SOUTH AFRICA APPLICATION NO.
                                              20 12/14826, FILED 6-5-2012.

                                              PRIORITY CLAIMED UNDER SEC. 44(D) ON SOUTH AFRICA APPLICATION NO.
                                              2012114825, FILED 6-5-2012.

                                              OWNER OF U.S. REG NO 3,905,559.

         _/                V     - / 4.J                    THE MARK CONSISTS OF A THREE-DlMENSIONAL DEPICTION OF A RECTANGLE WITH
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                                                            THE LETTER "N" IN THE CENTER PARTIALLY COVERING AN ADJACENT f.M.AGE OF
    A".,'"""' ' '"""
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                    ••"'   '"" '""" ""'.,...,........ o.... A NOTEBOOK WITH TABS ON THE RIGHT SIDE OF TICE NOTEBOOK.
Case 2:18-cv-00121-SPC-MRM Document 1-4 Filed 02/22/18 Page 22 of 31 PageID 131




        Reg. No. 4,351,584   SN ss-680,853, FILED 7-18-2012.

                             ZACHARY BELLO, EXAMINING ATTORNEY




                                         Page: 2 /RN# 4,351,584
Case 2:18-cv-00121-SPC-MRM Document 1-4 Filed 02/22/18 Page 23 of 31 PageID 132




                                  REQ UIRE MENTS TO MA INTAIN YOUR FEDE RAL
                                          TRADEMARK REGI STRATION

            WARNING: YOUR REGISTRATION WILL BE CANCELLED I F YOU DO NOT FILE THE
                   DOCUMENTS BE LOW DURING THE SPECIFIED TIME PE RIODS.

        Requirements in t he First Ten Years*
        What and When to F i.le:

                    First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the
                   5th and 6th years after the registration date. See 15 U.S.C. §§ 1058, 114 lk. If the declaration is
                   accepted, the registration will continue in force for tJ1e remainder of the ten-year period, calculated
                   from the registration date, unJess cancelled by an order of the Commissioner for Trademarks or a
                   federal court.

                   Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an
                  Application for Renewal between the 9th and 10th years after the registration date.*
                  See 15 U.S.C. §1059.

        Requirements in Successive Ten-Year Pe riods*
        What a nd When to File:

                   You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal between
                   every 9th and 10th-year period, calculated from the registration date.*

        Grace Period Filings*

        The above documents will be accepted as timely if filed within six months after the deadlines listed above
        with the payment of an additional fee.


          The United States Patent and Trad em ark Office (USPTO) will NOT send you :my future notice or
                                       reminder of these filing requirements.

        *ATTENTION MADRID PROTOCOL R EGISTRANTS: The holder of an intemational registration witJ1
        an extension of protection to the United States under tJ1e Madrid Protocol must timely file the Declarations
        of Use (or Excusable Nonuse) referenced above directJy with the USPTO. The time periods for filing are
        based on the U.S. registration date (not the intemational registration date). The deadlines and grace periods
        for tJ1e Declarations of Use (or Excusable Nonuse) are identical to those for nationally issued registrations.
        See 15 U.S.C. §§ 1058, 1141k. However, owners of international registrations do not file renewal applications
        at the USPTO. Instead, fuc holder must file a renewal of the underlying intcmational registration at tJ1e
        IntemationaJ Bureau of the World IntellectuaJ Property Organization, under Article 7 of the Madrid Protocol,
        before the expiration of each ten-year tenn of protection, calculated from the date of tJ1e international
        registration. See 15 U .S.C. §114 lj. For more infonnation and renewal forms for the international registration,
        see http://www.wipo.int/madrid/en/.

        NOTE: Fees and requirements for maintaining regist r ations are subject to change. Please check the
        USPT O website for further information. With the exce1>tion of renewal ap1>lications for registered
        extensions of protection, you can file the registration maintenance documents referenced above online
        at http://www.uspto.gov.




                                                   Page: 3 /RN# 4,351,584
Case 2:18-cv-00121-SPC-MRM Document 1-4 Filed 02/22/18 Page 24 of 31 PageID 133




                       EXHIBIT 35
Case 2:18-cv-00121-SPC-MRM Document 1-4 Filed 02/22/18 Page 25 of 31 PageID 134


                   Int. Cl.: 9
                   Prior U.S. Cl.: 38
                                                                                 Reg. No. 1,475,795
                   United States Patent and Trademark Office                 Registered Feb. 9, 1988
                   Corrected                                                 OG Date June 28, 1988


                                                 TRADEMARK
                                             PRINCIPAL REGISTER




                                                  POWERPOINT




                   MICROSOFT CORPORATION          (DELA-      FOR: PRERECORDED COMPUTER
                    WARE CORPORATION)                       PROGRAMS RECORDED ON MAGNET-
                   BOX 97017                                IC DISKS, IN CLASS 9 (U.S. CL. 38).
                   16011 NE WAY                               FIRST USE 4-20-1987; IN COMMERCE
                   RODMOND, WA 930739717, ASSIGNEE          4-20-1987 ..
                     OF. FORETHOUGHT, INC. (CALIFOR-
                     NIA CORPORATION) SUNNYVALE,              SER. NO. 669,735, FILED 6-29-1987.
                     CA




                                  In testimony whereof I have hereunto set my hand
                                  and caused the seal of The Patent and Trademark
                                  Office to be affvced on June 28, 1988.




                                 COMMISSIONER OF PATENTS AND TRADEMARKS
Case 2:18-cv-00121-SPC-MRM Document 1-4 Filed 02/22/18 Page 26 of 31 PageID 135




                       EXHIBIT 36
Case 2:18-cv-00121-SPC-MRM Document 1-4 Filed 02/22/18 Page 27 of 31 PageID 136




    Reg. No. 4,385,388         MICROSOFT CORPORATION (WASHINGTON CORPORATION)
                               ONE MICROSOFT WAY
    Registered Aug. 13, 2013   REDMOND, WA 980526399

    Int. Cls.: 9 and 42        FOR COMPUTER SOFTWARE, NAMELY, PROGRAMS FOR CREATING PRESENTATIONS,
                               GRAPHJCS AND VIDEOS, lN CLASS 9 (U.S. CLS. 2 1, 23, 26, 36 AND 38).

    TRADEMARK                  FIRST USE 12-1-20 12; IN COMMERCE 12- 1-2012.

    SERVICE MARK               FOR: CLOUD COMPUTING FEATURING SOFTWARE FOR USE IN PRESENTATION
                               GRAPI-UCS AND ACCESSING REMOTELY STORED DAD\ FOR SUCH APPLICATIONS;
    PRINCIPAL REGISTER         PROVIDING TEMPORARY USE OF ON-LINE NON-DOWNLOADABLE SOFTWARE AND
                               APPLICATIONS FOR PRESEN'IATJON GRAPHJCS; PROVIDING TECHNlCAL INFORMA-
                               TION IN THE FIELD OF COMPUTER SOFTWARE AND CLOUD COMPUTING, IN CLASS
                               42 (U.S. CLS. IOOAND 101).

                               FIRST USE 12- 1-2012; IN COMMERCE 12- 1-2012.

                               PRIORITY CLAIMED UNDER SEC. 44(D) ON SOUTH AFRICA APPLICATION NO.
                               20 12/1 4822, FILED 6-5-2012.

                               PRIORITY CLAIMED UNDER SEC. 44(D) ON SOUTH AFRICA APPLICATION NO.
                               201211482 1, FILED 6-5-2012.

                               OWNER OF U.S. REG NOS. 3,360,915 AND 3,905,56 1.

                               THE MARK CONSISTS OF A THREE-DIMENSIONAL DEPICTION OF A REC'JANGLE WITH
                               THE LETTER "P" IN THE CENTER PARTIALLY COVERING AN ADJACENT IMAGE OF A
                               PRESENTATION PAGE INCLUDING A PIE CHART AND TWO HORIZONTAL LINES.

                               SN 85-680,861, FILED 7-18-2012

                               MICHA EL WEBSTER, EXAMINING ATTORNEY
Case 2:18-cv-00121-SPC-MRM Document 1-4 Filed 02/22/18 Page 28 of 31 PageID 137




                                  REQ UIRE MENTS TO MA INTAIN YOUR FEDE RAL
                                          TRADEMARK REGI STRATION

            WARNING: YOUR REGISTRATION WILL BE CANCELLED I F YOU DO NOT FILE THE
                   DOCUMENTS BE LOW DURING THE SPECIFIED TIME PE RIODS.

        Requirements in t he First Ten Years*
        What and When to F i.le:

                    First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the
                   5th and 6th years after the registration date. See 15 U.S.C. §§ 1058, 114 lk. If the declaration is
                   accepted, the registration will continue in force for tJ1e remainder of the ten-year period, calculated
                   from the registration date, unJess cancelled by an order of the Commissioner for Trademarks or a
                   federal court.

                   Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an
                  Application for Renewal between the 9th and 10th years after the registration date.*
                  See 15 U.S.C. §1059.

        Requirements in Successive Ten-Year Pe riods*
        What a nd When to File:

                   You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal between
                   every 9th and 10th-year period, calculated from the registration date.*

        Grace Period Filings*

        The above documents will be accepted as timely if filed within six months after the deadlines listed above
        with the payment of an additional fee.


          The United States Patent and Trad em ark Office (USPTO) will NOT send you :my future notice or
                                       reminder of these filing requirements.

        *ATTENTION MADRID PROTOCOL R EGISTRANTS: The holder of an intemational registration witJ1
        an extension of protection to the United States under tJ1e Madrid Protocol must timely file the Declarations
        of Use (or Excusable Nonuse) referenced above directJy with the USPTO. The time periods for filing are
        based on the U.S. registration date (not the intemational registration date). The deadlines and grace periods
        for tJ1e Declarations of Use (or Excusable Nonuse) are identical to those for nationally issued registrations.
        See 15 U.S.C. §§ 1058, 1141k. However, owners of international registrations do not file renewal applications
        at the USPTO. Instead, fuc holder must file a renewal of the underlying intcmational registration at tJ1e
        IntemationaJ Bureau of the World IntellectuaJ Property Organization, under Article 7 of the Madrid Protocol,
        before the expiration of each ten-year tenn of protection, calculated from the date of tJ1e international
        registration. See 15 U .S.C. §114 lj. For more infonnation and renewal forms for the international registration,
        see http://www.wipo.int/madrid/en/.

        NOTE: Fees and requirements for maintaining regist r ations are subject to change. Please check the
        USPT O website for further information. With the exce1>tion of renewal ap1>lications for registered
        extensions of protection, you can file the registration maintenance documents referenced above online
        at http://www.uspto.gov.




                                                   Page: 2 /RN# 4,385,388
Case 2:18-cv-00121-SPC-MRM Document 1-4 Filed 02/22/18 Page 29 of 31 PageID 138




                       EXHIBIT 37
Case 2:18-cv-00121-SPC-MRM Document 1-4 Filed 02/22/18 Page 30 of 31 PageID 139




    Reg. No. 4,355,444         MICROSOFT CORPORATION (WASHINGTON CORPORATION)
                               ONE MICROSOFT WAY
    Registered June 18, 2013   REDMOND, WA 980526399

    Int. Cls.: 9 and 42        FOR WORD PROCESSING SOFTWARE; COMPUTER PROGRAMS FOR CREATING,
                               EDITING, SHARING, STORING, AND PRINTING DOCUMENTS COMPRISED OF TEXT
                               AND GRAPHICS AND UTlLITY PROGRAMS FOR USE THEREWITH, IN CLASS 9 (U.S.
    TRADEMARK                  CLS. 21, 23, 26, 36 AND 38).

    SERVICE MARK               FIRST USE 12-1 -2012; IN COMMERCE 12-1 -2012.

    PRINCIPAL REGISTER         FOR CLOUD COMPUTING FEATURING WORD PROCESSING SOFTWARE; NON-
                               DOWNLOADABLE COMPUTER PROGRAMS FOR CREATING , EDITING, SHARING,
                               STORING, AND PRINTING DOCUMENTS COMPRISED OF TEXT AND GRAPHICS AND
                               UTILITY PROGRAMS FOR USE THEREWITH, IN CLASS 42 (U.S. CLS. IOOAND 101).

                               FIRST USE 12- l-20I2; IN COMMERCE 12- 1-2012.

                               PRIORITY CLAIMED UNDER SEC. 44(0) ON SOUTH AFRICA APPLICATION NO.
                               20 I2/1 4815, FILED 6-5-2012.

                               PRIORITY CLAIMED UNDER SEC. 44(0) ON SOUTH AFRICA APPLICATION NO.
                               20 12/14814, FILED 6-5-20 12.

                               OWNER OF U.S. REG NOS. 3,360,914 AND 3,909, 143.

                               THE MARK CONSISTS OF A THREE-DIMENSIONAL DEPICTION OF A RECTANGLE WITH
                               THE LETTER "W" IN THE CENTER PARTIALLY COVERING AN ADJACENT IMAGE OF
                               A PIECE OF PAPER WITH HORIZONTAL LINES ACROSS THE PAPER.

                               SN 85-680,857, FILED 7-18-2012

                               MICHA EL WEBSTER, EXAMINING ATTORNEY
Case 2:18-cv-00121-SPC-MRM Document 1-4 Filed 02/22/18 Page 31 of 31 PageID 140




                                  REQ UIRE MENTS TO MA INTAIN YOUR FEDE RAL
                                          TRADEMARK REGI STRATION

            WARNING: YOUR REGISTRATION WILL BE CANCELLED I F YOU DO NOT FILE THE
                   DOCUMENTS BE LOW DURING THE SPECIFIED TIME PE RIODS.

        Requirements in t he First Ten Years*
        What and When to F i.le:

                    First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the
                   5th and 6th years after the registration date. See 15 U.S.C. §§ 1058, 114 lk. If the declaration is
                   accepted, the registration will continue in force for tJ1e remainder of the ten-year period, calculated
                   from the registration date, unJess cancelled by an order of the Commissioner for Trademarks or a
                   federal court.

                   Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an
                  Application for Renewal between the 9th and 10th years after the registration date.*
                  See 15 U.S.C. §1059.

        Requirements in Successive Ten-Year Pe riods*
        What a nd When to File:

                   You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal between
                   every 9th and 10th-year period, calculated from the registration date.*

        Grace Period Filings*

        The above documents will be accepted as timely if filed within six months after the deadlines listed above
        with the payment of an additional fee.


          The United States Patent and Trad em ark Office (USPTO) will NOT send you :my future notice or
                                       reminder of these filing requirements.

        *ATTENTION MADRID PROTOCOL R EGISTRANTS: The holder of an intemational registration witJ1
        an extension of protection to the United States under tJ1e Madrid Protocol must timely file the Declarations
        of Use (or Excusable Nonuse) referenced above directJy with the USPTO. The time periods for filing are
        based on the U.S. registration date (not the intemational registration date). The deadlines and grace periods
        for tJ1e Declarations of Use (or Excusable Nonuse) are identical to those for nationally issued registrations.
        See 15 U.S.C. §§ 1058, 1141k. However, owners of international registrations do not file renewal applications
        at the USPTO. Instead, fuc holder must file a renewal of the underlying intcmational registration at tJ1e
        IntemationaJ Bureau of the World IntellectuaJ Property Organization, under Article 7 of the Madrid Protocol,
        before the expiration of each ten-year tenn of protection, calculated from the date of tJ1e international
        registration. See 15 U .S.C. §114 lj. For more infonnation and renewal forms for the international registration,
        see http://www.wipo.int/madrid/en/.

        NOTE: Fees and requirements for maintaining regist r ations are subject to change. Please check the
        USPT O website for further information. With the exce1>tion of renewal ap1>lications for registered
        extensions of protection, you can file the registration maintenance documents referenced above online
        at http://www.uspto.gov.




                                                   Page: 2 /RN# 4,355,444
